Case 1:19-cr-10080-NMG Document 972-7 Filed 03/25/20 Page 1 of 8




                EXHIBIT G
        Case 1:19-cr-10080-NMG Document 972-7 Filed 03/25/20 Page 2 of 8




From: "Rosen, Eric (USAMA)" <Eric.Rosen@usdoj.gov>
Sent: Jan 28, 2020 6:02 PM
To: "McManus, Dylan (USAMA) [Contractor] 3" <Dylan.McManus2@usdoj.gov>; "Allen J.
Ruby" <allen.ruby@skadden.com>; "Andrew E. Tomback" <andrew.tomback@whitecase.com>;
"Brian T. Kelly" <bkelly@nixonpeabody.com>; "David E. Meier" <dmeier@toddweld.com>;
"David S. Schumacher" <DSchumacher@health-law.com>; "David Z. Chesnoff"
<dzchesnoff@cslawoffice.net>; "Eoin P. Beirne" <ebeirne@mintz.com>; George Vien
<gwv@dcglaw.com>; "Jack P. DiCanio" <jack.dicanio@skadden.com>; "Jack W. Pirozzolo"
<jpirozzolo@sidley.com>; "John C. Hueston" <jhueston@hueston.com>; "Jordan R.C. Kearney"
<JKearney@health-law.com>; Josh Ruby <jnr@dcglaw.com>; "Joshua C.H. Sharp"
<jsharp@nixonpeabody.com>; "Mark E. Robinson" <merobinson@mintz.com>; "Martin G.
Weinberg" <owlmcb@att.net>; "Matthew L. Schwartz" <mlschwartz@bsfllp.com>; "Megan A.
Siddall" <msiddall@mosllp.com>; "Michael K. Loucks" <michael.loucks@skadden.com>;
Michael Kendall <michael.kendall@whitecase.com>; "Nicholas C. Theodorou"
<ntheodorou@foleyhoag.com>; Patric Hooper <phooper@health-law.com>; "Viscounty, Perry
(OC-SF)" <PERRY.VISCOUNTY@LW.com>; "R. Robert Popeo" <rrpopeo@mintz.com>;
Reuben Camper Cahn <rcahn@kelleranderle.com>; "Richard A. Schonfeld"
<rschonfeld@cslawoffice.net>; "Berkowitz, Sean (CH)" <Sean.Berkowitz@lw.com>; "Seth B.
Orkand" <sorkand@mosllp.com>; "Stephen H. Sutro" <SHSutro@duanemorris.com>; "Tracy A.
Miner" <tminer@mosllp.com>; "Trach, William (BN)" <William.Trach@lw.com>; Yakov
Malkiel <yakov.malkiel@whitecase.com>; "Blanco, Allison (OC)" <Allison.Blanco@lw.com>
Cc: "O'Connell, Justin (USAMA)" <Justin.O'Connell@usdoj.gov>; "Wright, Leslie (USAMA)"
<Leslie.Wright@usdoj.gov>; "Kearney, Kristen (USAMA)" <Kristen.Kearney@usdoj.gov>
Subject: RE: 19-CR-10080-NMG Discovery Production

Please see attached. Eric

Eric S. Rosen
Assistant United States Attorney
District of Massachusetts
Tel: +1 617 748 3412
E-Mail: eric.rosen@usdoj.gov
Case
Case 1:19-cr-10080-NMG
     1:19-cr-10080-NMG Document
                       Document 972-7
                                807-1 Filed
                                      Filed 03/25/20
                                            01/31/20 Page
                                                     Page 3
                                                          2 of
                                                            of 8
                                                               7
Case
Case 1:19-cr-10080-NMG
     1:19-cr-10080-NMG Document
                       Document 972-7
                                807-1 Filed
                                      Filed 03/25/20
                                            01/31/20 Page
                                                     Page 4
                                                          3 of
                                                            of 8
                                                               7
Case
Case 1:19-cr-10080-NMG
     1:19-cr-10080-NMG Document
                       Document 972-7
                                807-1 Filed
                                      Filed 03/25/20
                                            01/31/20 Page
                                                     Page 5
                                                          4 of
                                                            of 8
                                                               7
Case
Case 1:19-cr-10080-NMG
     1:19-cr-10080-NMG Document
                       Document 972-7
                                807-1 Filed
                                      Filed 03/25/20
                                            01/31/20 Page
                                                     Page 6
                                                          5 of
                                                            of 8
                                                               7
Case
Case 1:19-cr-10080-NMG
     1:19-cr-10080-NMG Document
                       Document 972-7
                                807-1 Filed
                                      Filed 03/25/20
                                            01/31/20 Page
                                                     Page 7
                                                          6 of
                                                            of 8
                                                               7
Case
Case 1:19-cr-10080-NMG
     1:19-cr-10080-NMG Document
                       Document 972-7
                                807-1 Filed
                                      Filed 03/25/20
                                            01/31/20 Page
                                                     Page 8
                                                          7 of
                                                            of 8
                                                               7




                             Sincerely,

                             ANDREW E. LELLING
                             United States Attorney


                       By:    /s Justin D. O’Connell
                             Eric S. Rosen
                             Justin D. O’Connell
                             Kirsten A. Kearney
                             Leslie A. Wright
                             Assistant U.S. Attorneys




                                6
